Case 3:20-cv-08478-Sl

JS-CAND 44 (Rev. 10/2020)

except as provided by local rules of court. This form, ap:
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

and service of pleadings or other P ‘
he United States in September 1974, is required for the Clerk of

Document 1-1 Filed 12/01/20 Page 1 of 2
CIVIL COVER SHEET

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
proved in its original form by the Judicial Conference of t

apers as required by law,

I. (a) PLAINTIFFS
KENNETH HAAG, an individual

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN ULS. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Patrice N. Harper, Esq. Benjamin Law Group, PC:
1290 B Street, Ste. 301; Hayward, CA 94541: (5 10) 897-9966

DEFENDANTS

(IN U.S. PLAINTIFF CASES ONLY)

NOTE;

IN LAND CONDEMNATION CASES, U

THE TRACT OF LAND INVOLVED

Attorneys (If Known)

International Longshore and Warehouse Union Local 10 and DOEs 1-10

County of Residence of First Listed Defendant San Francisco

SE THE LOCATION OF

II. BASIS OF JU RISDICTION (Pace an “X” in One Box Only) II. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an“ tn One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
1 U.S. Government Plaintiff 4¢3 Federal Question iH sie set .
(U.S. Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place 4 4
“ of Business In This State
Ci f Another State 2 I te Princi P 5
2 USS. Government Defendant 4 Diversity itizen of Another State 2 oe . ach a lace 5
(indicate Citizenship of Parties in trem IL) 4 : 7 ‘ SF eC EHO S
Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance P ‘ NJU J 625 Drug Related Seizure of 422 Appeal 28 USC § 158 375 False Claims Act
ERSONAL INJURY PERSONAL INJURY 8 ‘
120 Marine 3 a Property 21 USC § 881 423 Withdrawal 28 USC 376 Qui Tam (31 USC
310 Airplane 365 Personal Injury — Product =
130 Miller Act 315 Airplane Product Liability Liability 650 Other § 157 §372%a))
140 Negotiable Instrument 320 Assault, Libel & § 367 Health Care/ LABOR PROPERTY RIGHTS 400 State Reapportionment
Assault, Libel & Slander or ical Perse 410 Ant
150 Recovery of 30 Fi : . armaceutical Persor aa: . = nutrust
Overpayment Of a =e Injury Product Liability a ee Ae, os ee 430 Banks and Banking
Veteran's Benefits ‘5 368 Asbestos Personal Inj 7 ary anagemeal : = 450 Com
340 Marin jury Rel < ‘ 50 Commerce
151 Medicare Act NaBeNE Product Liability etations 835 Patent—Abbreviated New
. 345 Marine Product Liability . 740 Railway Labor Act Drug Application 460 Deportation
152 Recovery of Defaulted PERSONAL PROPERTY = - : 470 Racketeer Influenced &
Student Loans (Excludes 350 Motor Vehicle 751 Family and Medical 840 Trademark es
Veterans) 355 Motor Vehicle Product sets rami . Leave Act 880 Defend Trade Secrets Compt pesos
153 Recovery of Liability a7) Testi tet Leciting 790 Other Labor Litigation | Act of 2016 480 Consumer Credit
Overpayment 360 Other Personal Injury 380 — com Property 79] Employee Retirement |__ SOCIAL SECURITY 485 ipatee ——
of Veteran's Benefits 362 Personal Injury -Medical : Income Security Act 861 HIA (1395ff) Sie
: ere Malpractice 385 Property Damage Product IMMIGRATION 490 Cable/Sat TV
160 Stockholders’ Suits Liability —, $62 Black Lung (923) 850 Securities/Commodities’
190 Other Contract CIVIL RIGHTS PRISONER PETITIONS 462 Naturalization 863 DIWC/DIWW (403{g)) Exchange
195 Contract Product Liability SE Ald Ciber Application 864 SSID Title XVI 890 Other Statutory Actions
196 Franchise coer tive Seine HABEAS CORPUS 465 Other Immigration 865 RSI (405(2)) 891 Agricultural Acts
441 Voung 463 Alien Detainee Actions - FEDERAL TAX SUITS 393 En vironmental Matters
REAL PROPERTY 442 Employment 510 Motions to Vacate | 295 Freed F Informnati
210 Land Condemnation 443 Housing/ Sentence 870 Taxes (U.S. Plaintiff or a jom of Information
220 Foreclosure Accommodations 530 General | oe 896 Arbitration
230 Rent Lease & Ejectment 445 Amer. w/Disabilities— 535 Death Penalty 871 IRS—Third Party 26 USC #90 Aisdeanpnia esedias
240 Torts to Land Employment OTHER $7609 Act/Review or Appeal of
245 Tort Product Liability 446 Amer. w/Dissbilitise-Other | 549 vsendarnus & Other Agency Decision
290 All Other Real Property | 448 Education 550 Civil Rights 950 Constitutionality of State
555 Prison Condition Statutes
$60 Civil Detainee—
Conditions of
Confinement
V. ORIGIN (Place an “¥” in One Box Only) a
* 1 Original 2 Removed from 3. Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict 8 Mulnidistrict
Proceeding State Court Appellate Court Reopened Another District (specify) Litigation—Transfer Litigation—Direct File

Vi CAUSE OF Cite the U.S. Civil Statute under which vou are filing (Do not cite jurisdictional statutes unless diversity):

ACTION

Brief descrintion of cause:

42 U.S.C. Sec, 2000e-2fa]: 42 U.S.C. § 12101, et seq.; 42 U.S.C. Sec. 2000e-3fa]

Racial discrimination; Disability discrimination; Retaliation

VII. REQUESTEDIN — CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, Fed. R. Civ. P. JURY DEMAND: x Yes No
VIII. RELATED CASE(S), inte: aoe

IF ANY (ee instructions):
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only) x SAN FRANCISCO/OAKLAND SAN JOSE EUREKA-MCKINLEYVILLE

DATE !1/30/2020

SIGNATURE OF ATTORNEY OF RECORD

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JS-CAND 44 (rev. 10/2020)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form. approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet, Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use

only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment),”

II. Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
pleadings, Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below,

(1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
(2) United States defendant, When the plaintiff is suing the United States, its officers or agencies, place an “X™ in this box.

(3) Federal question. This refers to suits under 28 USC § 1331. where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
takes precedence, and box | or 2 should be marked.

(4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section II below: NOTE: federal question actions take precedence over diversity
cases.)

IIL Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
Mark this section for each principal party,

IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

V. Origin. Place an “X” in one of the six boxes.
(1) Original Proceedings. Cases originating in the United States district courts.

(2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
petition for removal is granted, check this box.

(3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

(4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

(5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

(6) Multidistrict Litigation Transfer, Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
§ 1407. When this box is checked, do not check (5) above.

(8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.

Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause, Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.

VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

IX. Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the /
events or omissions which give rise to the claim oceurred or in which a substantial part of the property that is the subject of the action is situated.”

Date and Attorney Signature. Date and sign the civil cover sheet.
